8:07-cr-00426-LSC-TDT         Doc # 163       Filed: 04/06/09     Page 1 of 1 - Page ID # 477




                       IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,                       )               CASE NO. 8:07CR426
                                                )
               Plaintiff,                       )
                                                )
               vs.                              )                     ORDER
                                                )
JANHAROY WILSON,                                )
                                                )
               Defendant.                       )

         This matter is before the Court on the following motions: the Defendant’s pro se

motion to reduce her sentence as a result of crack cocaine Amendment 706 to the

sentencing guidelines (Filing No. 154); and counsel’s motion to withdraw on behalf of the

Federal Public Defender’s Office (Filing No. 161). Counsel was appointed and entered an

appearance. (Filing Nos. 155, 160.)

         The Defendant pleaded guilty to Count I of the Indictment charging her with

conspiracy to distribute and possess with intent to distribute 50 grams or more of cocaine

base, i.e. crack cocaine, resulting in a statutory minimum sentence of 10 years. The

Defendant was sentenced to 120 months imprisonment. (Filing No. 135.) The Defendant

was sentenced to the mandatory minimum sentence and, therefore, she is not entitled to

a reduction under Amendment 706. United States v. McGuire, 524 F.3d 891, 892 (8th Cir.

2008).

         IT IS ORDERED:

         1.    The Defendant’s pro se motion to reduce her sentence as a result of
               Amendment 706 to the crack cocaine sentencing guidelines (Filing No. 154)
               is denied; and

         2.    Defense counsel’s motion to withdraw (Filing No. 161) is granted.

         DATED this 6th day of April, 2009.

                                                    BY THE COURT:


                                                    s/Laurie Smith Camp
                                                    United States District Judge
